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 6
       Attorneys for Plaintiff
 7
 8
                         UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
11     Chris Langer,                           Case No. '18CV2649 CAB BLM
12                Plaintiff,
                                               Complaint For Damages And
13        v.                                   Injunctive Relief For Violations
                                               Of: American’s With Disabilities
14     Sedlack Development Co., L.P., a        Act; Unruh Civil Rights Act
       California Limited Partnership;
15     Sedlack Rental Co., a California
       Corporation;
16     Alexandra J. Waclawski; and Does
       1-10,
17
                  Defendants.
18
19
           Plaintiff Chris Langer complains of Sedlack Development Co., L.P., a
20
     California Limited Partnership; Sedlack Rental Co., a California Corporation;
21
     Alexandra J. Waclawski; and Does 1-10 (“Defendants”), and alleges as
22
     follows:
23
24
25         PARTIES:
26     1. Plaintiff is a California resident with physical disabilities. He is a
27   paraplegic who cannot walk and who uses a wheelchair for mobility. He has
28   a specially equipped van with a ramp that deploys out of the passenger side of


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 1   his van and he has a Disabled Person Parking Placard issued to him by the
 2   State of California.
 3     2. Defendants Sedlack Development Co., L.P., and Sedlack Rental Co.
 4   owned the real property located at or about 3354 Hancock Street, San Diego,
 5   California, in October 2018.
 6     3. Defendants Sedlack Development Co., L.P., and Sedlack Rental Co.
 7   own the real property located at or about 3354 Hancock Street, San Diego,
 8   California, currently.
 9     4. Defendant Alexandra J. Waclawski owned Hancock Street Cafe located
10   at or about 3354 Hancock Street, San Diego, California, in October 2018.
11     5. Defendant Alexandra J. Waclawski owns Hancock Street Cafe located
12   at or about 3354 Hancock Street, San Diego, California, currently.
13     6. Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of,
16   and alleges a joint venture and common enterprise by all such Defendants.
17   Plaintiff is informed and believes that each of the Defendants herein, including
18   Does 1 through 10, inclusive, is responsible in some capacity for the events
19   herein alleged, or is a necessary party for obtaining appropriate relief. Plaintiff
20   will seek leave to amend when the true names, capacities, connections, and
21   responsibilities of the Defendants and Does 1 through 10, inclusive, are
22   ascertained.
23
24     JURISDICTION & VENUE:
25     7. The Court has subject matter jurisdiction over the action pursuant to 28
26   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
27   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
28     8. Pursuant to supplemental jurisdiction, an attendant and related cause of


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 1   action, arising from the same nucleus of operative facts and arising out of the
 2   same transactions, is also brought under California’s Unruh Civil Rights Act,
 3   which act expressly incorporates the Americans with Disabilities Act.
 4     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 5   founded on the fact that the real property which is the subject of this action is
 6   located in this district and that Plaintiff's cause of action arose in this district.
 7
 8     FACTUAL ALLEGATIONS:
 9     10. Plaintiff went to Hancock Street Cafe in October 2018 to eat.
10     11. Hancock Street Cafe is a facility open to the public, a place of public
11   accommodation, and a business establishment.
12     12. Parking spaces are one of the facilities, privileges, and advantages
13   specifically offered by Defendants to patrons of Hancock Street Cafe.
14     13. Unfortunately, there were no accessible parking spaces marked and
15   reserved for persons with disabilities in the rear parking lot at Hancock Street
16   Cafe on the day of plaintiff’s visit.
17     14. On information and belief, plaintiff alleges that there used to be an
18   accessible parking space in the parking lot, however. Unfortunately, the
19   defendants have allowed the parking space to fade or get paved over.
20     15. Currently, there is no compliant parking space marked and reserved for
21   persons with disabilities in the rear parking lot at Hancock Street Cafe.
22     16. Defendants have failed to maintain in operable working condition those
23   features of facilities and equipment that are required to be readily accessible
24   to and usable by persons with disabilities at the Subject Property.
25     17. Plaintiff personally encountered this barrier.
26     18. This inaccessible facility denied the plaintiff full and equal access and
27   caused him difficulty, discomfort, and embarrassment.
28     19. Transaction counters are another one of the facilities, privileges, and


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 1   advantages offered by Defendants to patrons of Hancock Street Cafe.
 2     20. Meanwhile, and even though the plaintiff did not personally confront
 3   the barrier, the transaction counter at Hancock Street Cafe is more than 36
 4   inches in height. In fact, the transaction counter is about 47 inches in height.
 5     21. There is no lowered, 36 inch portion of the transaction counter at
 6   Hancock Street Cafe for use by persons in wheelchairs to conduct
 7   transactions.
 8     22. Plaintiff plans to return and patronize Hancock Street Cafe but is
 9   deterred from visiting until the defendants remove the barriers.
10     23. The defendants have failed to maintain in working and useable
11   conditions those features required to provide ready access to persons with
12   disabilities.
13     24. The barriers identified above are easily removed without much
14   difficulty or expense. They are the types of barriers identified by the
15   Department of Justice as presumably readily achievable to remove and, in
16   fact, these barriers are readily achievable to remove. Moreover, there are
17   numerous alternative accommodations that could be made to provide a greater
18   level of access if complete removal were not achievable.
19     25. For example, there are numerous paint/stripe companies that will come
20   and stripe a parking stall and access aisle and install proper signage on rapid
21   notice, with very modest expense, sometimes as low as $300 in full
22   compliance with federal and state access standards.
23     26. A common barrier removal project is modifying transaction counters to
24   make a portion of the counter accessible. This is a simple construction task,
25   well within the capabilities of any general contractor. The task can be
26   completed easily and for a modest price.
27     27. Plaintiff is deterred from returning and patronizing Hancock Street
28   Cafe because of his knowledge of the barriers that exist. Plaintiff will,


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 1   nonetheless, return to assess ongoing compliance with the ADA and will
 2   return to patronize Hancock Street Cafe as a customer once the barriers are
 3   removed.
 4     28. Given the obvious and blatant nature of the violations and barriers
 5   alleged herein, the plaintiff alleges, on information and belief, that there are
 6   other violations and barriers on the site that relate to his disability. Plaintiff
 7   will amend the Complaint to provide proper notice regarding the scope of this
 8   lawsuit once he conducts a site inspection. However, please be on notice that
 9   the plaintiff seeks to have all barriers related to his disability remedied. See
10   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
11   encounters one barrier at a site, he can sue to have all barriers that relate to his
12   disability removed regardless of whether he personally encountered them).
13
14   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
15   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
16   Defendants.) (42 U.S.C. section 12101, et seq.)
17     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint.
20     30. Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods and services of any
22   place of public accommodation is offered on a full and equal basis by anyone
23   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
24   § 12182(a). Discrimination is defined, inter alia, as follows:
25            a. A failure to make reasonable modifications in policies, practices,
26                or procedures, when such modifications are necessary to afford
27                goods,    services,    facilities,   privileges,    advantages,     or
28                accommodations to individuals with disabilities, unless the


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 1                 accommodation would work a fundamental alteration of those
 2                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              b. A failure to remove architectural barriers where such removal is
 4                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 5                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 6                 Appendix “D.”
 7              c. A failure to make alterations in such a manner that, to the
 8                 maximum extent feasible, the altered portions of the facility are
 9                 readily accessible to and usable by individuals with disabilities,
10                 including individuals who use wheelchairs or to ensure that, to
11                 the maximum extent feasible, the path of travel to the altered area
12                 and the bathrooms, telephones, and drinking fountains serving the
13                 altered area, are readily accessible to and usable by individuals
14                 with disabilities. 42 U.S.C. § 12183(a)(2).
15     31. Any business that provides parking spaces must provide accessible
16   parking spaces. 2010 Standards § 208. Under the 2010 Standards, one in every
17   six accessible parking spaces must be van accessible. 2010 Standards §
18   208.2.4.
19     32. Here, the failure to provide an accessible parking space is a violation of
20   the ADA.
21     33. Under the 2010 Standards, where the approach to the sales or service
22   counter is a parallel approach, such as in this case, there must be a portion of
23   the sales counter that is no higher than 36 inches above the floor and 36 inches
24   in width and must extend the same depth as the rest of the sales or service
25   counter top. 2010 Standards § 904.4 & 904.4.1.
26     34. Here, no such accessible counter has been provided in violation of the
27   ADA.
28     35. The Safe Harbor provisions of the 2010 Standards are not applicable


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 1   here because the conditions challenged in this lawsuit do not comply with the
 2   1991 Standards.
 3     36. A public accommodation must maintain in operable working condition
 4   those features of its facilities and equipment that are required to be readily
 5   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 6     37. Here, the failure to ensure that the accessible facilities were available
 7   and ready to be used by the plaintiff is a violation of the law.
 8     38. Given its location and options, plaintiff will continue to desire to
 9   patronize Hancock Street Cafe but he has been and will continue to be
10   discriminated against due to the lack of accessible facilities and, therefore,
11   seeks injunctive relief to remove the barriers.
12
13   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH
14   CIVIL RIGHTS ACT (On behalf of Plaintiff and against all Defendants.)
15   (Cal. Civ. Code § 51-53.)
16     39. Plaintiff repleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in all prior paragraphs of this
18   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
19   that persons with disabilities are entitled to full and equal accommodations,
20   advantages, facilities, privileges, or services in all business establishment of
21   every kind whatsoever within the jurisdiction of the State of California. Cal.
22   Civ. Code §51(b).
23     40. The Unruh Act provides that a violation of the ADA is a violation of
24   the Unruh Act. Cal. Civ. Code, § 51(f).
25     41. Defendants’ acts and omissions, as herein alleged, have violated the
26   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of,
27   Plaintiff’s rights to full and equal use of the accommodations, advantages,
28   facilities, privileges, or services offered.


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 1     42. Because the violation of the Unruh Civil Rights Act resulted in
 2   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
 3   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
 4   55.56(a)-(c).)
 5
 6         PRAYER:
 7         Wherefore, Plaintiff prays that this Court award damages and provide
 8   relief as follows:
 9       1. For injunctive relief, compelling Defendants to comply with the
10   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
11   plaintiff is not invoking section 55 of the California Civil Code and is not
12   seeking injunctive relief under the Disabled Persons Act at all.
13       2. Damages under the Unruh Civil Rights Act, which provides for actual
14   damages and a statutory minimum of $4,000.
15       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
16   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
17
18   Dated: November 18, 2018         CENTER FOR DISABILITY ACCESS
19
20
21
                                      By: ______________________________
22
                                            Chris Carson, Esq.
23                                          Attorney for plaintiff
24
25
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27
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I. (a) PLAINTIFFS                                                                                           DEFENDANTS
CHRIS LANGER                                                                                              Sedlack Development Co., L.P., a California Limited Partnership; Sedlack
                                                                                                          Rental Co., a California Corporation; Alexandra J. Waclawski;
                                                                                                          and Does 1-10
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  (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                                $WWRUQH\V(If Known)
Chris Carson, Esq., SBN 280048
Center for Disability Access
                                                                                                                                                      '18CV2649 CAB BLM
9845 Erma Road, Suite 300, San Diego, CA 92131(858) 375-7385
PO Box 262490, San Diego, CA 92196-2490

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                           and One Box for Defendant)
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                                         Title III of the Americans with Disabilities Act, 42 USC 12182 et seq.
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
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VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
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               Case 3:18-cv-02649-CAB-BLM Document 1 Filed 11/20/18 PageID.10 Page 10 of 10
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHVODVWILUVWPLGGOHLQLWLDORISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQVHHDWWDFKPHQW

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOHD)5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII-XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW:KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUNVLQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV&DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW&KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG&KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW)RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQD'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ&KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFNDERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
